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                           FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


          DOUGLAS O’CONNOR; THOMAS               No. 14-16078
          COLOPY; DAVID KHAN;
          MATTHEW MANAHAN; WILSON                    D.C. No.
          ROLLE, JR.; WILLIAM                  3:13-cv-03826-EMC
          ANDERSON, individually and on
          behalf of all others similarly
          situated,
                       Plaintiffs-Appellees,

                          v.

          UBER TECHNOLOGIES, INC.,
                   Defendant-Appellant.



          DOUGLAS O’CONNOR; THOMAS               Nos. 15-17420
          COLOPY; MATTHEW MANAHAN;                    15-17532
          ELIE GURFINKEL, individually
          and on behalf of all others                D.C. No.
          similarly situated,                  3:13-cv-03826-EMC
                       Plaintiffs-Appellees,

                          v.

          UBER TECHNOLOGIES, INC.,
                   Defendant-Appellant.
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          HAKAN YUCESOY, on behalf of             Nos. 15-17422
          himself and all others similarly             15-17534
          situated,
                        Plaintiff-Appellee,          D.C. No.
                                               3:15-cv-00262-EMC
                          v.

          UBER TECHNOLOGIES, INC.,
                   Defendant-Appellant.



          RICARDO DEL RIO; TONY                   No. 15-17475
          MEHRDAD SAGHEBIAN,
          individually and on behalf of all          D.C. No.
          others similarly situated,           3:15-cv-03667-EMC
                       Plaintiffs-Appellees,

                          v.

          UBER TECHNOLOGIES, INC.;
          RASIER-CA, LLC, a Delaware
          Limited Liability Company,
                  Defendants-Appellants.
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          ABDUL KADIR MOHAMED,                    No. 15-17533
          individually and on behalf of all
          others similarly situated,                D.C. Nos.
                         Plaintiff-Appellee,   3:14-cv-05200-EMC
                                               3:14-cv-05241-EMC
                          v.                   3:15-cv-03009-EMC

          UBER TECHNOLOGIES, INC.,
                   Defendant-Appellant,

                         and

          RASIER, LLC; HIREASE, LLC,
                            Defendants.



          DOUGLAS O’CONNOR; THOMAS                No. 16-15000
          COLOPY; MATTHEW MANAHAN;
          ELIE GURFINKEL, individually               D.C. No.
          and on behalf of all others          3:13-cv-03826-EMC
          similarly situated,
                      Plaintiffs-Appellants,

                          v.

          UBER TECHNOLOGIES, INC.,
                   Defendant-Appellee.
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          HAKAN YUCESOY, on behalf of            No. 16-15001
          himself and others similarly
          situated,                                 D.C. No.
                       Plaintiff-Appellant,   3:15-cv-00262-EMC

                         v.

          UBER TECHNOLOGIES, INC.,
                   Defendant-Appellee.



          ABDUL KADIR MOHAMED,                   No. 16-15035
          individually and on behalf of all
          others similarly situated;                D.C. No.
          RONALD GILLETTE; SHANNON            3:14-cv-05200-EMC
          WISE; BRANDON FARMER;
          MEGHAN CHRISTENSON,
                     Plaintiffs-Appellants,

                         v.

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                               O’CONNOR V. UBER                  5

          DOUGLAS O’CONNOR; THOMAS                No. 16-15595
          COLOPY; MATTHEW MANAHAN;
          ELIE GURFINKEL, individually               D.C. No.
          and on behalf of all others          3:13-cv-03826-EMC
          similarly situated,
                       Plaintiffs-Appellees,
                                                     OPINION
                          v.

          UBER TECHNOLOGIES, INC.,
                   Defendant-Appellant.


                Appeal from the United States District Court
                   for the Northern District of California
                 Edward M. Chen, District Judge, Presiding

                 Argued and Submitted September 20, 2017
                 Submission Withdrawn September 22, 2017
                    Re-Submitted September 25, 2018
                         San Francisco, California

                          Filed September 25, 2018

              Before: Richard C. Tallman, Richard R. Clifton,
                    and Sandra S. Ikuta, Circuit Judges.

                          Opinion by Judge Clifton
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                                    SUMMARY*


                            Class Action / Arbitration

             The panel reversed the district court’s denial of Uber
         Technologies, Inc.’s motions to compel arbitration, reversed
         the district court’s class certification orders, and reversed as
         moot and without foundation the district court’s Fed. R. Civ.
         P. 23(d) orders in several putative class actions brought by
         current and former Uber drivers alleging violations of various
         federal and state statutes arising from Uber’s classification of
         drivers as independent contractors rather than employees.

             In Mohamed v. Uber Technologies, Inc., 848 F.3d 1201,
         1206 (9th Cir. 2016), the panel previously considered and
         reversed the district court’s orders denying Uber’s motion to
         compel arbitration.

             The panel rejected plaintiffs’ additional arguments in this
         current appeal alleging that the arbitration agreements were
         unenforceable. First, the plaintiffs argued that the lead
         plaintiffs in the O’Connor case constructively opted out of
         arbitration on behalf of the entire class. The panel held this
         was unpersuasive because nothing gave the O’Connor lead
         plaintiffs the authority to take that action on behalf of and
         binding other drivers, and the decision in Bickerstaff v.
         Suntrust Bank, 788 S.E.2d 787 (Ga. 2016), was not
         instructive where it relied exclusively on state law grounds
         and did not discuss the Federal Arbitration Act. Second, the
         plaintiffs argued that the arbitration agreements were

             *
              This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         unenforceable because they contained class action waivers
         that violated the National Labor Relations Act of 1935. The
         panel held that this argument was rejected by the Supreme
         Court in Epic Systems Corp. v. Lewis, 138 S. Ct. 1612 (2018).

             The panel held that it had jurisdiction to review both the
         original class certification order and the December 9, 2015
         certification order. The panel held that in the wake of the
         decision in Mohamed, the class certification orders must be
         reversed because they were premised upon the district court’s
         conclusion that the arbitration agreements were not
         enforceable. The question whether those agreements were
         enforceable was not properly for the district court to answer
         because the question of arbitrability was designated to the
         arbitrator. The panel held that remand for further proceedings
         was appropriate, and leaving the existing class certification
         orders in place in the meantime was not appropriate.

             The panel held that the district court’s Fed. R. Civ. P.
         23(d) orders must be reversed as moot and without
         foundation in light of the panel’s reversal of the district
         court’s orders denying the motions to compel arbitration and
         certifying the class.
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                                COUNSEL

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         Kevin J. Ring-Dowell, Gibson Dunn & Crutcher LLP, Los
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         Supervisory Attorney; Linda Dreeben, Deputy Associate
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         F. Griffin Jr., General Counsel; National Labor Relations
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         Relations Board.

         Andrew J. Pincus, Evan M. Tager, and Archis A.
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         Comerford Todd and Warren Postman, U.S. Chamber
         Litigation Center Inc., Washington, D.C.; for Amicus Curiae
         Chamber of Commerce of the United States of America.
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                                      OPINION

         CLIFTON, Circuit Judge:

             Current and former Uber drivers filed several putative
         class actions alleging on behalf of themselves and other
         drivers that Uber Technologies, Inc. and related defendants
         (collectively referred to as “Uber”), violated various federal
         and state statutes by, among other things, misclassifying
         drivers as independent contractors rather than employees.
         Multiple cases were consolidated for appeal to this court.1
         Uber appeals the district court’s orders denying Uber’s
         motions to compel arbitration, orders granting class
         certification in O’Connor, and orders controlling class
         communications pursuant to Federal Rule of Civil Procedure
         23(d).

             We previously considered and reversed the district court’s
         orders denying Uber’s motions to compel arbitration in
         Mohamed v. Uber Technologies, Inc., 848 F.3d 1201, 1206
         (9th Cir. 2016). Plaintiffs offer additional arguments in the
         current appeal why the arbitration agreements are
         unenforceable, but those arguments are unpersuasive. As the
         class certification by the district court was premised on the
         district court’s determination that the arbitration agreements
         were unenforceable, the class certification must also be
         reversed. The Rule 23(d) orders were based on the district
         court’s denial of the motions to compel arbitration and its


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                The appeals were from four related actions pending before the same
         district court: (1) O’Connor v. Uber Technologies, Inc., 3:13-cv-03826-
         EMC; (2) Yucesoy v. Uber Technologies, Inc., 3:15-cv-00262-EMC;
         (3) Mohamed v. Uber Technologies, Inc., 3:14-cv-05200-EMC; and (4)
         Del Rio v. Uber Technologies, Inc., 3:15-cv-03667-EMC.
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         granting of class certification. As both of those decisions
         must be reversed, there is no longer a basis for the district
         court’s restrictions on Uber’s communication with class and
         putative class members, so these orders are moot and must be
         reversed as well.

         I. Background

             Two Uber drivers filed a putative class action complaint
         against Uber on August 16, 2013, initiating the O’Connor
         action. It alleged claims for failure to remit the entire gratuity
         paid by customers to drivers in violation of California Labor
         Code § 351 (“Tips Claim”), and for misclassifying the drivers
         as independent contractors and failing to pay their business
         expenses (including vehicles, gas, and maintenance) in
         violation of California Labor Code § 2802 (“Expense
         Reimbursement Claim”).

             Within a week of filing suit, the O’Connor Plaintiffs filed
         a motion under Rule 23(d) requesting that the district court
         declare the 2013 arbitration agreement unconscionable, or, in
         the alternative, requiring Uber to provide enhanced notice and
         opportunities for the drivers to opt out of arbitration. On
         December 6, 2013, the district court granted the O’Connor
         Plaintiffs’ alternative request, enjoined Uber from enforcing
         its arbitration agreement against those drivers who entered
         into the agreement but did not opt out, required Uber to revise
         the agreement to include enhanced notice provisions, and
         directed Uber to extend the opt out period for an additional
         thirty days once the revised agreements were distributed.
         Uber’s updated licensing agreement was issued on June 21,
         2014. Uber also sent licensing agreements in November 2014
         and April 2015 that were materially identical to the June 2014
         agreement (collectively “2014 arbitration agreement”).
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             Plaintiff Mohamed filed a putative class action complaint
         against Uber and Hirease, LLC, an independent company that
         conducts background checks, on November 24, 2014,
         asserting various federal and California state law claims. We
         have already provided background on that case in our
         decision in Mohamed, 848 F.3d at 1206–07. Here it is
         sufficient to note that the district court denied Uber’s motion
         to compel arbitration pursuant to its 2013 and 2014
         arbitration agreements, holding, among other things, that the
         arbitration provisions were unenforceable because they were
         unconscionable. Based on the same reasoning, the district
         court also denied Uber’s motions to compel arbitration in
         Yucesoy, Del Rio, and O’Connor.

             In April 2015, the O’Connor Plaintiffs moved for
         certification of a class of approximately 160,000 individuals
         who had driven for Uber in the state of California at any time
         since August 16, 2009. The district court granted class
         certification in part in an order filed on September 1, 2015,
         certifying the following class for the Plaintiffs’ Tips Claim:

                All UberBlack, UberX, and UberSUV drivers
                who have driven for Uber in the state of
                California at any time since August 16, 2009,
                and who (1) signed up to drive directly with
                Uber or an Uber subsidiary under their
                individual name, and (2) are/were paid by
                Uber or an Uber subsidiary directly and in
                their individual name, and (3) did not
                electronically accept any contract with Uber
                or one of Uber’s subsidiaries which contain
                the notice and opt-out provisions previously
                ordered by this Court (including those
                contracts listed in the Appendix to this Order),
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                 unless the driver timely opted-out of that
                 contract’s arbitration agreement.

         The district court excluded drivers who worked for a distinct
         third-party transportation company, or who contracted or
         were paid under corporate or fictitious names, out of concern
         that individualized issues would predominate if they were
         included. The district court, in addition, excluded any drivers
         who signed the Uber contracts that included enhanced notice
         and opt-out provisions previously ordered by the district
         court, unless the driver timely opted-out of the arbitration
         agreement. The district court declined to certify the
         O’Connor Plaintiffs’ Expense Reimbursement Claim at that
         time because it was uncertain whether the O’Connor
         Plaintiffs could determine whether a particular expense was
         “necessary” on a classwide basis.

             In response to a supplemental motion for class
         certification by the O’Connor Plaintiffs, the district court, on
         December 9, 2015, certified an additional subclass of Uber
         drivers including those who accepted arbitration agreements
         in 2014 and 2015:

                 All UberBlack, UberX, and UberSUV drivers
                 who have driven for Uber in the state of
                 California at any time since August 16, 2009,
                 and meet all the following requirements:
                 (1) who signed up to drive directly with Uber
                 or an Uber subsidiary under their individual
                 name, and (2) are/were paid by Uber or an
                 Uber subsidiary directly and in their
                 individual name, and (3) electronically
                 accepted any contract with Uber or one of
                 Uber’s subsidiaries which contain the notice
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                and opt-out provisions previously ordered by
                this Court, and did not timely opt out of that
                contract’s arbitration agreement.

         In the same order the district court also certified the original
         class and subclass to pursue the Expense Reimbursement
         Claim based on the O’Connor Plaintiffs’ proposal to rely on
         the Internal Revenue Service’s mileage reimbursement rate,
         which approximates a driver’s necessary business expenses.

              Uber issued a new arbitration agreement to all of its
         drivers on December 11, 2015. Plaintiffs in O’Connor,
         Mohamed, and Yucesoy filed separate motions to enjoin Uber
         from distributing and enforcing this new agreement and to
         enjoin any further communications by Uber to class and
         putative class members. The district court granted the motion
         in part on December 23, 2015, citing its authority under
         Federal Rule of Civil Procedure 23(d) to control
         communications by Uber to the class members and putative
         class members. Although the district court did not prohibit
         Uber from sending out arbitration agreements in the future
         (except to members of the O’Connor certified class), it ruled
         that: (1) the December 11, 2015 agreement shall have no
         effect on the rights of certified class members to pursue the
         claims certified in O’Connor; (2) its arbitration provision was
         not enforceable against non-class member drivers who had
         already agreed to it; (3) Uber had to issue a new version of
         the agreement with enhanced notice and opt out provisions
         and provide drivers with 30-days to decide to opt out or not;
         and (4) during the pendency of the Uber cases, all cover
         letters, notices and arbitration provisions given to new or
         prospective drivers had to be approved by the district court.
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             In Mohamed, 848 F.3d at 1210–12, we reversed the
         district court’s denial of Uber’s motion to compel arbitration.2
         We held that the relevant provisions in the respective
         agreements delegated the threshold question of arbitrability
         to the arbitrator, that the delegation provisions were not
         adhesive pursuant to California law and were therefore not
         procedurally unconscionable, and that the provisions
         permitting drivers to opt-out of arbitration were not illusory
         but provided the drivers with a meaningful opportunity to opt
         out. Id. at 1207–12.

             In response to Mohamed, the district court terminated its
         December 23, 2015 Rule 23(d) order, and stated that “Uber
         is permitted to issue the December 2015 Agreement to new
         drivers without satisfying the enhanced notice provisions
         required by the Court” and current drivers as well. The
         district court refused to vacate the order retroactively,
         however, explaining that “it will not deem the December
         2015 Agreement effective as to drivers who did not timely
         opt out of the arbitration agreement during the pendency of
         the Rule 23(d) orders,” from December 10, 2015 to August
         18, 2016.

             Approximately a dozen appeals arising from these cases
         were filed with this court. They were consolidated for appeal,
         and supplemental consolidated briefing was ordered and
         received.



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                In addition, we affirmed the district court’s order as to the 2013
         agreement’s delegation of California’s Private Attorneys General Act
         (“PAGA”) claims to the arbitrator but noted that it was severable from the
         rest of the agreement and did not invalidate the rest of the arbitration
         provision. Mohamed, 848 F.3d at 1212–14.
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         II. Motions to Compel Arbitration

             An order denying a motion to compel arbitration is
         reviewed de novo. See Kilgore v. KeyBank, Nat’l Ass’n,
         718 F.3d 1052, 1057 (9th Cir. 2013) (en banc). Underlying
         factual findings are reviewed for clear error. See Cape
         Flattery Ltd. v. Titan Mar., LLC, 647 F.3d 914, 917 (9th Cir.
         2011). “[Q]uestions of arbitrability must be addressed with
         a healthy regard for the federal policy favoring arbitration.”
         Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,
         460 U.S. 1, 24 (1983).

             Based on our decision in Mohamed, the district court’s
         orders denying Uber’s motions to compel arbitration must be
         reversed. Plaintiffs do not dispute the application of
         Mohamed regarding the issues our previous decision
         discussed to the other cases consolidated in the current
         appeal, but they argue that the arbitration agreements are
         unenforceable for two other reasons.

             The first reason is that even if the arbitration agreements
         would otherwise be enforceable, Plaintiffs argue they are
         irrelevant here because the lead plaintiffs in O’Connor
         constructively opted out of arbitration on behalf of the entire
         class. The sole authority offered by Plaintiffs for this
         proposition is a Georgia Supreme Court decision, Bickerstaff
         v. Suntrust Bank, 788 S.E.2d 787 (Ga. 2016). The argument
         is unpersuasive for multiple reasons. Nothing gave the
         O’Connor lead plaintiffs the authority to take that action on
         behalf of and binding other drivers. Nor did Bickerstaff hold
         that individuals in the lead plaintiffs’ position had the
         authority to make such an election for others. Perhaps more
         importantly, Plaintiffs provide no federal case law that has
         relied on Bickerstaff, nor could they. That decision rested
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         exclusively on state law grounds and did not discuss the
         Federal Arbitration Act (“FAA”), 9 U.S.C. § 2.

             Section 2 of the FAA “requires courts to enforce
         agreements to arbitrate according to their terms,”
         CompuCredit Corp. v. Greenwood, 565 U.S. 95, 98 (2012),
         in order “to place an arbitration agreement upon the same
         footing as other contracts . . . and to overrule the judiciary’s
         longstanding refusal to enforce agreements to arbitrate,”
         Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 219–20
         (1985) (internal quotation marks and citation omitted). To
         that end, section 2 declares that “a contract evidencing a
         transaction involving commerce to settle by arbitration a
         controversy thereafter arising out of such contract or
         transaction . . . shall be valid, irrevocable, and enforceable,
         save upon such grounds as exist at law or in equity for the
         revocation of any contract.” 9 U.S.C. § 2. An arbitration-
         specific rule, such as the one set forth in Bickerstaff, would be
         preempted by the FAA. See AT&T Mobility LLC v.
         Concepcion, 563 U.S. 333, 341–43 (2011). Plaintiffs’ new
         argument provides no support for the district court’s orders
         denying the motions to compel arbitration.

             The second alternative argument offered by Plaintiffs is
         that the arbitration agreements are unenforceable because
         they contain class action waivers that violate the National
         Labor Relations Act of 1935 (“NLRA”), 29 U.S.C.
         §§ 151–169. After oral argument, we withdrew submission
         of this consolidated appeal pending resolution by the
         Supreme Court of another case that posed a similar question.
         The Court answered that question and rejected Plaintiffs’
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         argument in Epic Systems Corp. v. Lewis, 138 S. Ct. 1612
         (2018).3

             In sum, the district court’s orders denying Uber’s motions
         to compel arbitration in O’Connor, Yucesoy, and Del Rio
         must be reversed.

         III.       Class Certification

             We have jurisdiction under 28 U.S.C. § 1292(e) and
         Federal Rule of Civil Procedure 23(f) to review the district
         court’s class certification orders in O’Connor. Uber timely
         petitioned for and received permission to appeal both orders.

             As a preliminary matter, Plaintiffs contend that our
         review should be limited to the December 9, 2015
         certification order, arguing that the motions panel which
         granted permission to appeal in Appeal No. 15-80220 did not
         grant review of the original class certification order. We can
         and will review both certification orders. See Rivera v.
         NIBCO, Inc., 364 F.3d 1057, 1063 (9th Cir. 2004) (the “court
         may address any issue fairly included within” an interlocutory
         order). The December 9, 2015 order incorporated the Rule 23
         analysis that the district court previously conducted in its
         September 1, 2015 order and expanded the class as a result of
         supplemental briefing related to issues raised in the earlier
         certification order.




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                Following the Supreme Court’s decision in Epic Systems, we
         obtained supplemental briefing from the parties. Plaintiffs acknowledged
         that the Court’s decision extinguished their argument that the arbitration
         agreements were not enforceable under the NLRA.
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              “[W]e first review a class certification determination for
         legal error under a de novo standard, and if no legal error
         occurred, we will proceed to review the decision for abuse of
         discretion.” Sali v. Corona Reg’l Med. Ctr., 889 F.3d 623,
         629 (9th Cir. 2018) (alteration incorporated and internal
         quotation marks omitted). A district court that applies “the
         correct legal standard abuses its discretion only if it (1) relies
         on an improper factor, (2) omits a substantial factor, or
         (3) commits a clear error of judgment in weighing the correct
         mix of factors.” Id. (internal quotation marks omitted). The
         district court’s findings of fact are reviewed for clear error,
         and will be reversed “only if they are (1) illogical,
         (2) implausible, or (3) without support in inferences that may
         be drawn from the record.” Id. (internal quotation marks
         omitted).

             In the wake of our decision in Mohamed, the class
         certification orders must be reversed. Certification of the
         class by the district court, notably the court’s determinations
         that the requirements of Rule 23 were satisfied, was premised
         upon the district court’s conclusion that the arbitration
         agreements were not enforceable. The class as certified
         includes drivers who entered into agreements to arbitrate their
         claims and to waive their right to participate in a class action
         with regard to those claims. As we held in Mohamed, the
         question whether those agreements were enforceable was not
         properly for the district court to answer. The question of
         arbitrability was designated to the arbitrator. Mohamed,
         848 F.3d at 1208–12.

             In their most recent supplemental brief, Plaintiffs do not
         dispute that the basis for the class certification orders
         previously entered by the district court has been undermined
         by Mohamed and Epic Systems, among other decisions.
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         Plaintiffs argue that we should not disturb the existing class
         certification orders and should instead simply remand these
         cases to the district court for further consideration, so that it
         could consider certification of a class that might be defined
         differently based on some new analysis. Remand for further
         proceedings is appropriate, but leaving the existing class
         certification orders in place in the meantime is not. Those
         orders are reversed.

         IV.     Rule 23(d) Orders

              Reversing the class certification orders also leads us to set
         aside the Rule 23(d) orders. They were based on the district
         court’s conclusion that a class could be certified and its desire
         to limit the effect of any new arbitration agreement on class
         or putative class members. As we have concluded that the
         district court’s orders denying the motions to compel
         arbitration and certifying the class must both be reversed, the
         Rule 23(d) orders are moot and without foundation. They
         must be reversed as well.

         V. Conclusion

             The district court’s denial of Uber’s motions to compel
         arbitration in O’Connor, Yucesoy, and Del Rio must be
         reversed, based on Mohamed. Because the arbitration
         agreements are enforceable, the district court’s class
         certification orders in O’Connor must also be reversed. The
         orders entered by the district court under Rule 23(d) orders
         are moot and are thus reversed as well.

               REVERSED AND REMANDED.
